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  TOMMY CLERKLEY AND RODNEY THOMPSON v. LOWE’S HOME
                      CENTERS, LLC (NC), et al.
         U.S. District Court for the Northern District of Georgia
               Civil Action File No. 1:22-cv-01088-ELR

      ATTACHMENT “B” TO PLAINTIFFS’ INITIAL DISCLOSURES
          Plaintiffs’ Fed.R.Civ.P. 26(a)(2)(B) Expert Witness List

      Plaintiffs anticipate various medical and non-retained fact witnesses will

give expert testimony in this case. Plaintiffs also anticipate retaining expert

witnesses but have not made any decisions as to retained experts as of the date of

filing these Initial Disclosures.




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